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  IT IS ORDERED as set forth below:



   Date: December 3, 2020
                                                     _________________________________

                                                              Jeffery W. Cavender
                                                         U.S. Bankruptcy Court Judge
                                   Signed as Revised by the Court
 ________________________________________________________________

                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                             CHAPTER 11
                                 :
MOUNTAIN PHOENIX, LLC,           :                 CASE NO. 20-71358-jwc
                                 :
      DEBTOR.                    :
________________________________ :
                                  ORDER DISMISSING CASE
       On November 4, 2020, the United States Trustee filed a Motion to Dismiss [Docket

No. 5] (the "Motion"). The Motion came on for hearing on December 3, 2020. At

the hearing, Thomas W. Dworschak appeared for the United States Trustee, Kim

Reeves appeared on behalf of Tradeport Atlanta, LLC, and Andrew Gleason appeared

on behalf of BMW Financial Services NA, LLC and BMW Bank of North America.

Debtor did not file a response and did not appear at the hearing, although Debtor’s

principal Rich Successful appeared unrepresented and in his personal capacity. For the

reasons stated on the record at the hearing, it is therefore

       ORDERED that pursuant to 11 U.S.C. § 1112(b), the motion is granted, and case

20-71358-jwc is DISMISSED.

                                  END OF DOCUMENT
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Order prepared by:
NANCY J. GARGULA
UNITED STATES TRUSTEE

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